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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW MEXICO

    CHARLES S. OAKES,

                 Plaintiff,

    v.                                                        No. 2:22-cv-00224-SMV-GJF

    HONEYWELL INTERNATIONAL, INC.,
    a Delaware Corporation; NATIONAL TECHNOLOGY
    AND ENGINEERING SOLUTIONS OF
    SANDIA, LLC, a Delaware Corporation
    and wholly-owned subsidiary of
    Honeywell International, Inc.; CAROL
    ADKINS; and PAUL SHOEMAKER,

                 Defendants.

          PLAINTIFF’S REPLY IN SUPPORT OF HIS MOTION FOR REMAND
          OR IN THE ALTERNATIVE FOR JURISDICTIONAL DISCOVERY OR
                      EVIDENTIARY HEARING IN SUPPORT

         Charles Oakes replies here in support of his Motion for Remand to show the Court that the

motion should be granted if solely on the basis of the law holding “’the plaintiff’s place of

employment’ – rather than where employment decisions were made – “‘[is] the significant factor

in determining whether the plaintiff’s employment claims arose under the federal enclave

doctrine’”.1 “An employer cannot manufacture federal jurisdiction simply by calling on executives

to make decisions on a federal enclave, even if the facts giving rise to the claim occurred outside

of the enclave.”2 The defendants bear the burden of establishing that the material events alleged in




1
  Coleman v. Trans Bay Cable, LLC, Coleman v. Trans Bay Cable, LLC, *5, citing Abikar v.
Bristol Bay Native Corp., 300 F.Supp 3d 1092, 1102 (S.D. Cal. 2018)(quoting Lockhart v. MVM,
Inc,, 175 Cal. App.4th 1452 (2009).
2
  Id.
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the complaint and giving rise to plaintiff’s claims occurred on the federal enclave 3, something

these defendants cannot and have not shown the Court.

          The present lawsuit is factually and legal indistinguishable from the decision in Coleman

v. Trans Bay Cable, LLC, granting that plaintiff’s motion to remand.4 There the trial court had to

answer the same question as this Court, viewed in the light of the law requiring that the removal

statute be strictly construed against finding jurisdiction and requiring proof from the defendant

seeking removal that the material facts pleaded in plaintiff’s complaint show that they occurred on

federal property, where the claim must have arisen to establish jurisdiction.

        In Coleman, the defendant claimed that all pertinent management decisions were made on

the enclave including the decision to fire Plaintiffs. Plaintiffs worked primarily in a location several

miles away from the federal enclave property and reported to management in that “remote site.”

Plaintiffs had disclosed the defendant’s non-compliance with state utility regulations to their

management and others off the enclave. Plaintiffs’ manager made comments or took action that

was retaliatory, in the off-enclave building. Plaintiffs’ manager fired Plaintiffs in that off-enclave

site. The defendant alleged in support of their removal that, as here, the pertinent management

decision was made on the enclave.5

        The Coleman Court disagreed with the defendant noting in part that that strictly construing

the removal statute as required led to the conclusion that the defendants’ arguments were legally

and factually deficient. The court held that even if the employment decision was made on the

federal property, that the location of the primary work, the retaliatory conduct and the harm

occurred off enclave and “[a]ny connection between [the higher-level supervisor]'s conduct [on



3
  Coleman, *4-5.
4
  Id.
5
  Id. at *2-3.
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the enclave] and [the direct supervisors]'s behavior towards plaintiffs is insufficient to confer

federal jurisdiction.6” The Court explicitly stated that in deciding whether the enclave doctrine

applied, it “must consider where the material events giving rise to plaintiffs' claims as pleaded

occurred.”7

        Coleman sets out the proper test here on nearly identical facts. Dr. Oakes worked only in

Carlsbad, not on the Sandia campus on Kirkland Air Force Base. Dr. Oakes’ direct supervisor,

defendant Shoemaker, worked in Carlsbad with regard to any of his supervisory duties of Dr.

Oakes. Dr. Oates reported the fraud in his Carlsbad workplace. Shoemaker’s retaliatory pushback

occurred in Carlsbad. Shoemaker fired Dr. Oakes in Carlsbad, where the tort was actually

committed when the retaliation became termination. Regardless of whether the decision to fire Dr.

Oakes was sketched out on a napkin at the Frontier, or on Kirtland Air Force Base, it did not come

to fruition, there was no act establishing liability on defendants for causing Dr. Oakes damages,

until Shoemaker said “you’re fired”. In Carlsbad, which defendants admit is not a federal enclave.

        The authorities cited by defendants’ response are simply inapposite as in each case the

plaintiffs worked at least part of the time on the federal property, so that was the locus of the claim,

where it arose. While defendant cites to the Smelser decision for the proposition that the location

of human resources is determinative, they fail to note that the court’s focus was on "the locus in

which the claim arose, i.e., where the substance and consummation of the claim occurred, and

where all pertinent events occurred.8” As the Coleman court laid out, where the “material events

that give rise the plaintiff[‘s] claim as pleaded occurred” are the factors determining whether or



6
  Coleman at *3.
7
  Id. at *4.
8
  Smelser v. Sandia Corp., No. CV 17-388 SCY/KK, 2018 WL 1627214, at *8 (D.N.M. Mar. 30,
2018) (the plaintiff worked on base, events giving rise to claim occurred on base, and
discrimination concerning her work on base were determinative).
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not the federal enclave doctrine applies. In the case at hand, Plaintiff not only worked completely

off the enclave, but also his supervisors, the group managers and their supervisor, Senior Manager

Shoemaker, all did as well. Plaintiff and his management team worked entirely, or nearly entirely,

off-enclave and the doctrine should not be found to apply.

       Defendants also attack the lex loci delecti doctrine brought up in Plaintiff’s Motion. Despite

that the doctrine is oft used in conflict of laws, it is applicable here, as the Coleman court makes

abundantly clear. And that is the logical linchpin of the analysis.

       The fact that business is transacted within a federal enclave, or that services are
       rendered or materials are furnished within a federal enclave, does not immunize the
       persons engaged therein from liability for breach of any duty arising from such
       activity. This being true, the acquisition of the personal jurisdiction necessary to
       give a court the power to deal with such a breach should not be defeated by the fact
       that the breach occurs within a federal enclave 9.

       The location matters, but not in the way that Defendants argue it does. Defendants seek to

apply the federal enclave in a way that is inconsistent with a majority of the federal enclave cases.

For example, “an employment discrimination claim does not arise on a federal enclave where the

relevant manager or supervisor made, off of the federal enclave, the decision which led to the

unlawful adverse employment action.”10

       Defendants make the strained argument that because Dr. Oakes was a “Sandia employee…

subject to the policies and procedures applicable to all Sandia employees,” that, therefore, the

“majority of the work” was on the enclave, because that is where Sandia is. 11 First, this simply is

not so, and second, these were not the facts that Plaintiff plead. Once again, as Coleman instructs,

Sandia cannot “manufacture jurisdiction” over a claim merely by forcing the “decision” onto the



9
 Swanson Painting v. Painters Local Un. No. 260, 391 F.2d 523, 525 (9th Cir. 1968).
10
   Lawler v. Miratek Corp., No. EP-09-CV-252-KC, 2010 WL 743925, at *4 (W.D. Tex. Mar. 2,
2010)
11
   Response, at 7
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enclave. Plaintiff was clear in his complaint, he was terminated in Carlsbad.12 The facts that

Plaintiff plead about his work situation continually refer to the comings and goings of supervisors

and other employees to and from the Carlsbad worksite, which is not federal property. The

misconduct, willful ignorance and down-right coverup of fraudulent information occurred in

Carlsbad.13 And Plaintiff detailed the relevant facts in his remand motion that he and his direct

supervisor did the majority of their work in Carlsbad.14 But for the Carlsbad supervisor Shoemaker,

located on a day-to-day basis at the Carlsbad facility, Plaintiff would not have been terminated.

       An analogous context that is often the subject of the federal enclave doctrine is the National

Labor Relations Act and whether workers may unionize on enclaves. Section 14(b) of the Act

provides:

       [Agreements requiring union membership in violation of State law] Nothing in this
       Act [subchapter] shall be construed as authorizing the execution or application of
       agreements requiring membership in a labor organization as a condition of
       employment in any State or Territory in which such execution or application is
       prohibited by State or Territorial law.

In Oil Workers v Mobil Oil,15 the United States Supreme Court looked at Sec. 14(b) and weighed

the importance of where workers actually worked, directly rejecting the argument that where an

employee was hired is determinative when it held: “predominant job situs is the controlling factor

in determining the applicability of § 14(b).” 16 Location of the work done, not who the employee

works for, is the key in order “minimize the possibility of patently anomalous extraterritorial




12
   Complaint, ¶¶ 118-119.
13
   Complaint, ¶¶ 34-117.
14
    Motion for Remand at 3-5.
15
   426 U.S. 407 (1976).
16
   Id at 420 (1976).
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applications of any given State's right-to-work laws.” 17 This comports with the holdings in

Coleman, and Swanson, supra.

          Defendants in their Response seek to expand the enclave doctrine beyond its parameters

and apply a place of hiring, or a place of management, or termination decision, rather than what

the case law supports, the predominant job situs or occurrences analysis. Where the employee

worked, where the employee consistently had meetings with his manager in which he was rebuffed

on a permanent hire position, where that management rebuffed his concerns over fraudulent

conduct with serious and even lethal consequences, and where that management terminated him,

should control where the lawsuit is brought – state court. The cases that Defendants cite are all

distinguishable either on their facts or the law for which they are being argued.          Plaintiff

respectfully requests this Court apply the correct analysis of the enclave doctrine, contrary to

Defendants’ argument, and the facts as plead, and find that this matter is properly remanded back

to state court.

          For the reasons and on the stated authorities Dr. Oakes requests that the motion to remand

be granted and for such other relief as the Court finds appropriate.



                                                         Respectfully submitted,
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                                                         and


17
     Id, at 218 (internal punctuation and citation omitted).
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                                  CERTIFICATE OF SERVICE


        I hereby certify that on July 19, 2022, I filed the foregoing electronically through the
 CM/ECF system, which caused all counsel of record to be served by electronic means, as
 more fully reflected on the Notice of Electronic Filing.


/s/ Timothy L. White
Timothy L. White
